  8:13-cr-00411-JFB-TDT           Doc # 31   Filed: 12/06/13    Page 1 of 1 - Page ID # 43



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )            8:13CR411
                     Plaintiff,                    )
                                                   )
       vs.                                         )             ORDER
                                                   )
JERMAINE HALL,                                     )
                                                   )
                     Defendant.                    )


       This matter is before the court on the motion of First Assistant Federal Public Defender
Shannon P. O’Connor and the Office of the Federal Public Defender to withdraw as counsel
for the defendant, Jermaine Hall (Hall) (Filing No. 30). Mr. O’Connor represents that the
Office of the Federal Public Defender has a conflict of interest in this matter. Mr. O’Connor’s
and the Office of the Federal Public Defender’s motion to withdraw (Filing No. 30) is granted.
       Michael D. Nelson, 503 South 36th Street, Omaha, NE 68105-1201, (402) 344-8044,
is appointed to represent Hall for the balance of these proceedings pursuant to the Criminal
Justice Act. Mr. O’Connor shall forthwith provide Mr. Nelson with the discovery materials
provided the defendant by the government and such other materials obtained by Mr.
O’Connor which are material to Hall’s defense.
       The clerk shall provide a copy of this order to Mr. Nelson who shall file an appearance
forthwith.


       IT IS SO ORDERED.


       DATED this 6th day of December, 2013.


                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
